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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 19-CV-61084-CIV-SCOLA


  UNITED STATES OF AMERICA,
  And others, ex rel. Amber Watt,

            Plaintiffs,
  v.

  VIRTUOX, INC.,

        Defendant.
  ____________________________________/

                                      NOTICE OF APPEAL

            Notice is hereby given that Plaintiff, UNITED STATES OF AMERICA AND OTHERS,

  EX REL. AMBER WATT, in the above named case, hereby appeals to the United States Court of

  Appeals for the Eleventh Circuit the Order Granting Motion to Dismiss and the Final Judgment in

  favor of Defendant, entered in this action on the 31st day of August, 2021.

           DATED: September 30, 2021.

                                              Respectfully submitted,

                                               /s/_Nicholas S. Agnello
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                                               Nicholas S. Agnello, Esq. (FL Bar No.: 90844)
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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on September 30, 2021, I electronically filed the foregoing

  with the Clerk of Court using CM/ECF, which will serve a copy of the aforesaid via Notice of

  Electronic Filing upon all counsels of record.


                                              /s/_Nicholas S. Agnello
                                              Nicholas S. Agnello, Esq. (FL Bar No.: 90844)
                                              BURR & FORMAN, LLP




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